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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


ROADGET BUSINESS PTE. LTD., a private
limited company organized in the country of
Singapore,                                       Case No.: 24-cv-02536

                           Plaintiff,

      vs.                                        Judge Thomas M. Durkin

THE INDIVIDUALS, CORPORATIONS, LIMITED
LIABILITY COMPANIES, PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A TO THE
COMPLAINT,

                           Defendants.



             MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S
             MOTION FOR ENTRY OF A PRELIMINARY INJUNCTION
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                                        INTRODUCTION

       This is a copyright infringement case. Each of the 17 Defendants has sought to enrich

itself by exploiting Roadget’s copyrighted designs and photographs, and each is a foreign entity

that has operated an online marketplace while obscuring their identities to do so—primed to

disappear and reappear under a new alias at the first sign of trouble. Recognizing the irreparable

harm Roadget would suffer from continued infringement by foreign defendants who would likely

dissipate the assets reflecting the fruits of their misconduct, this Court entered a TRO on April 4,

2024. Defendants have now been served, and Roadget respectfully requests that the Court

convert the prior TRO into a preliminary injunction to preserve the status quo—preventing both

continuing infringement and the dissipation of Defendants’ frozen assets—pending the

disposition of Roadget’s claims for infringement. Roadget’s claims for infringement are strong:

its registered copyrights are presumptively valid, and Defendants’ copying is exact or nearly

exact. And the threat of irreparable harm is real: these foreign sellers, who obscure their identity

behind aliases, are just as likely to abscond and move assets to offshore accounts now as before.

A preliminary injunction is necessary to preserve the status quo so that Roadget has a meaningful

opportunity to enforce its copyrights and obtain relief in this Court.

                                         BACKGROUND

       Plaintiff Roadget owns the popular SHEIN online fashion and lifestyle retailer.

Declaration of Tim Wei (“Wei Decl.”) ¶ 3 [ECF No. 10-3]. Roadget’s affiliate and licensee in

the United States, Shein Distribution Corporation, sells apparel, beauty products, home goods,

pet supplies, and a variety of other products through the SHEIN website at https://us.shein.com

and the SHEIN mobile application. Wei Decl. ¶ 3.

       Roadget’s SHEIN brand has skyrocketed in popularity over the last several years,

becoming one of the most visited fashion and apparel sites in the world. Declaration of Taylor J.

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Wilson to TRO Motion (“Wilson Decl. to TRO Mot.) [ECF No. 10-45] Ex. 41. Roadget has

invested heavily in building goodwill and brand recognition on social media and other marketing

channels. Wei Decl. ¶ 4. That strategy has made SHEIN a household name among youth in the

U.S. and Illinois. In 2022, for example, the SHEIN mobile app was the most downloaded

fashion app in the United States. Ex. 42 to Wilson Decl. to TRO Mot. [ECF No. 10-46].

       Roadget has registered various copyrights to protect its original designs and photographs.

Wei Decl. ¶ 5. Each of the Roadget copyrights in the table below is registered with the U.S.

Copyright Office, reflecting Roadget’s valid and enforceable copyrights in each design and

photograph. Plaintiff’s Sealed Memorandum In Support of TRO [12-2] Exs. 1-23.

       Registration No(s).    Effective Date        Title of Work
       VA 2-372-271           September 8, 2023     00299 rabbit
       VA 2-387-188           March 19, 2024        sm2108092036335520 Photographs
       VA 2-387-349           March 19, 2024        sm2203104243439747 Photographs
       VA 2-387-252           March 19, 2024        sm2211110116563726 Photographs
       VA 2-387-336           March 19, 2024        st2109243578410075 Photographs
       VA 2-387-350           March 19, 2024        st2111190225182377 Photographs
       VA 2-387-337           March 19, 2024        st2204061197711891 Photographs
       VA 2-387-352           March 19, 2024        st2208238182181431 Photographs
       VA 2-387-343           March 19, 2024        st2209071174584054 Photographs
       VA 2-387-353           March 19, 2024        st2209138344298288 Photographs
       VA 2-387-338           March 19, 2024        st2205218385388807 Photographs
       VA 2-387-347           March 19, 2024        st2211217795294288 Photographs
       VA 2-387-355           March 19, 2024        st2304120000688180 Photographs
       VA 2-387-357           March 19, 2024        st2306159235462721 Photographs
       VA 2-387-358           March 19, 2024        st2307145509300053 Photographs
       VA 2-387-359           March 19, 2024        sw210610513927300 Photographs
       VA 2-387-348           March 19, 2024        sw2108036656666435 Photographs
       VA 2-387-360           March 19, 2024        sw2203076829317092 Photographs
       VA 2-387-361           March 19, 2024        sw2209151413412372 Photographs
       VA 2-374-650           December 11, 2023     Bear 100088

       SHEIN’s affordable clothes and original designs have taken the Internet by storm—and

inspired many copycats on e-commerce platforms. Wei Decl. ¶ 6. Roadget regularly finds



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sellers on e-commerce platforms selling goods infringing its copyrights. Defendants, listed on

Schedule A to the Complaint, are among such sellers.

       Defendants have deliberately and unlawfully copied, displayed, and sold apparel with or

using images substantially similar to the Roadget copyrights without authorization. See Wilson

Decl. to TRO Mot. ¶ 7. Their conduct infringes Roadget’s copyrights and irreparably harms

Roadget. Defendants use aliases to conceal their identities. And data provided by the e-

commerce site Temu (where Defendants operate their marketplaces) confirms that, in at least one

instance, the same Defendant has used multiple aliases. Declaration of Taylor J. Wilson to

Preliminary Injunction Motion (“Wilson Decl. to PI Mot.”) Ex. 2.

       This Court granted a TRO against Defendants on April 4, 2024. The Order enjoined

Defendants from using the Roadget copyrights or any reproductions, counterfeit copies, or

colorable imitations in any manner in connection with the distribution, marking, advertising,

offering for sale, or sale of infringing products. The Order also required that third-party

providers freeze Defendants’ accounts and provide Defendants’ identities and account

information to Roadget. Since entry of the TRO, Roadget has received data regarding

Defendants, and Defendants have been served electronically with the Complaint and TRO.

Wilson Decl. to PI Mot. Ex. 1, 2.

                                          ARGUMENT

       For the same reasons this Court entered a TRO, the Court should grant a preliminary

injunction to stop Defendants from infringing Roadget’s copyrights and from dissipating the

assets reflecting the fruits of their infringement. The facts have not changed since the entry of

the TRO—indeed, the information produced confirms that Defendants are in fact foreign sellers

that obscure their identities and profit from infringing Roadget’s copyrights—and the legal

standard for a preliminary injunction is the same as for a TRO. See Evergreen Pharmacy, Inc. v.
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Garland, 621 F. Supp. 3d 861, 868 (N.D. Ill. 2022). To obtain a preliminary injunction, the

moving party must show that (1) it has some likelihood of success on the merits, (2) it will suffer

irreparable harm without relief, and (3) it has no adequate remedy at law. GEFT Outdoors, LLC

v. City of Westfield, 922 F.3d 357, 364 (7th Cir. 2019). If these requirements are satisfied, the

movant must then show that the harm it will suffer without an injunction is greater than the harm

to the defendant from an injunction, and that the injunction is in the public interest. Id. The

Seventh Circuit uses a “sliding scale” approach to its balancing analysis. For example, “the

more likely the plaintiff is to win on the merits, the less the balance of harms needs to weigh in

his favor, and vice versa.” Mays v. Dart, 974 F.3d 810, 818 (7th Cir. 2020). Here, Roadget is

both very likely to succeed on the merits—given Defendants’ exact copying—and all but certain

to suffer irreparable harm in the absence of injunctive relief. The Court should therefore grant

Roadget’s motion.

I.      THE COURT SHOULD ENJOIN DEFENDANTS’ INFRINGEMENT OF
        ROADGET’S COPYRIGHTS AND FREEZE THE ACCOUNTS REFLECTING
        THE FRUITS OF THEIR INFRINGEMENT.

        A.       Roadget Will Likely Succeed on the Merits of Its Copyright Infringement
                 Claim.

        Roadget has demonstrated a likelihood to succeed on the merits of its copyright

infringement claims by providing evidence of Defendants’ wholesale copying of presumptively

valid, registered copyrights without a license from Roadget. 1 Design Basics, LLC v. Signature

Constr., Inc., 994 F.3d 879, 886 (7th Cir. 2021) (“To establish [copyright] infringement, two

elements must be proven: (1) ownership of a valid copyright, and (2) copying of constituent

elements of the work that are original.”). Copying may be proven by direct evidence or “inferred



1
 Plaintiff Roadget owns all exclusive rights in the Roadget Copyrights, which are registered with the U.S.
Copyright Office. Wilson Decl. to TRO, Exs.1-20.

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where the defendant had access to the copyrighted work and the accused work is substantially

similar to the copyrighted work.” JCW Investments, Inc. v. Novelty, Inc., 482 F.3d 910, 915 (7th

Cir. 2007).

       Defendants had access to the Roadget copyrights, since they were publicly displayed in

products sold on the SHEIN website and/or mobile application. Wilson Decl. to TRO Exs. 24-

40. Moreover, the Defendants are using photographs that are identical or nearly identical to the

Roadget copyrights to sell their products, or in the case of designs, are printing images that are

identical to Roadget’s copyrighted designs. Wilson Decl. to TRO ¶ 7. Screenshots of each

Defendant’s storefront, showing the product listing using infringing photos or designs, are

attached as Exhibit 3, presented alongside a copy of the original Roadget design or photo. One

need only briefly compare Defendants’ product listings and Roadget’s copyrighted works to see

that they are identical or nearly identical. Below is an exemplary comparison of one of Roadget’s

original designs with a corresponding infringing product listing.

                Original Design                                     Copied Design




See also Sealed Compl., ECF No. 9 (comparing the other photographs and designs to infringing

products).


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          Because Roadget owns the Roadget copyrights, and Defendants are offering unauthorized

copies of the copyrights for sale or using unauthorized copies of copyrighted photographs to sell

products, Roadget has a high likelihood of success on the merits of its copyright infringement

claims.

          B.     Roadget Has No Adequate Remedy at Law and Will Suffer Irreparable
                 Harm Absent Preliminary Relief.

          Roadget will suffer irreparable harm without a preliminary injunction because

Defendants are foreign sellers that may abscond, dissipate their assets, and simply reopen a new

online marketplace under a new alias. Waiting until a final judgment is entered will therefore

leave Roadget without any remedy at all. See Roland Machinery Co. v. Dresser Industries, Inc.,

749 F.2d 380, 386 (7th Cir. 1984) (explaining that a damages award may be inadequate if

damages are “unobtainable from the defendant,” and that harm that “cannot be prevented or fully

rectified by the final judgment after trial” is irreparable); see also Bushnell, Inc. v. Brunton Co.,

673 F. Supp. 2d 1241, 1263 (D. Kan. 2009) (“prospect of collecting money damages from a

foreign defendant with few to no assets in the United States tips in favor of a finding of

irreparable harm”). Unless a preliminary injunction is entered to maintain the status quo,

Defendants are likely to withdraw their assets and continue their infringement using a new alias.

          C.     The Balance of Harms Favors Roadget, and an Injunction Serves the Public
                 Interest.

          The harm caused by Defendants’ infringing upon Roadget’s Copyrights weighs heavily

in favor of granting an injunction compared to any harm Defendants may incur. In the context of

copyright infringement, courts generally tip the balancing of harms in favor of the plaintiff if a

defendant willfully infringed upon a copyrighted work. Willful infringers act at their own peril

by choosing to sell infringing goods—any alleged harm arising out of an injunction would be

self-inflicted. Bulgari, S.p.A. v. P’ships & Unincorporated Ass’ns Identified On Schedule “A,”

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No. 14-CV-4819, 2014 WL 3749132, at *6 (N.D. Ill. July 18, 2014); Burger King Corp. v.

Majeed, 805 F. Supp. 994, 1005–06 (S.D. Fla. 1992). As this Court has pointed out, “[o]ne who

elects to build a business on a product found to infringe cannot be heard to complain if an

injunction against continuing infringement destroys the business so elected.” E-Link Tech. Co. v.

Shenzhen Uni-Sun Elecs. Co., No. 20-cv-00247, 2020 WL 8079816, at *3 (N.D. Ill. May 14,

2020) (quoting Windsurfing Int’l Inc. v. AMF, Inc., 782 F.2d 995, 1003 n.12 (Fed. Cir. 1986)).

       Defendants here are willful infringers, and are consequently “entitled to little equitable

consideration.” Bulgari, 2014 WL 3749132, at *6. They profit from knowingly selling clothing

that unlawfully bears Roadget’s copyrighted designs or using copyrighted Roadget photographs

to sell their products. Regardless of whether the conduct was willful, the harm to Roadget from

Defendants’ infringement outweighs any harm to Defendants from being ordered to stop

infringing (and the associated freeze of assets associated with their infringement). Consequently,

they should not be shielded from the inevitable consequences of willful copyright infringement.

       An injunction also serves the public’s interest in encouraging designers to invest in

original creations by preventing Defendants from copying them for profit. See, e.g., In re

Aimster Copyright Litig., 252 F. Supp. 2d 634, 665 (N.D. Ill. 2002) (“[T]he public interest is

served by upholding copyright protections against those who would seek to misappropriate

protected works.”). This fact tips the balance in favor of an injunction.

       In similar infringement cases in e-commerce stores, courts in this District have routinely

converted temporary restraining orders into preliminary injunctions. See, e.g., Art Ask Agency v.

Individuals, Corps., Ltd. Liab. Cos., P’ships, & Unincorporated Ass’ns Identified on Schedule A

Hereto, No. 1:23-cv-417 (N.D. Ill. May 1, 2023) (unpublished); Fletcher et al. v. P’ships &

Unincorporated Ass’ns Identified on Schedule A, No. 1:23-cv-14961 (N.D. Ill. Nov. 22, 2023)



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(unpublished). By granting and extending a TRO, this Court already acknowledged Roadget’s

likelihood of success on the merits and the irreparable harm Roadget will suffer without

injunctive relief. For the same reasons, this Court should now extend that injunctive relief for

the duration of this case.

II.       THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE.

          Plaintiff Roadget respectfully requests that the Court issue a preliminary injunction that

enjoins Defendants unlawful use of Roadget’s copyrighted works and restrains Defendants’

assets.

          A.     Defendants Should Be Ordered to Stop Infringing Roadget’s Copyrights.

          This Court issued a TRO that ordered Defendants to stop infringing Roadget’s

copyrights. Roadget requests that order be converted to a preliminary injunction so that

Defendants are enjoined from using, copying, and distributing Roadget’s copyrights in

connection with all of their e-commerce stores pending the disposition of this case. Such relief is

necessary to stop the ongoing harm to Roadget and to prevent Defendants from continuing to

enrich themselves through their unauthorized copying and distribution of the copyrighted works.

The relief Roadget seeks is routine in this District. See, e.g., Antsy Labs, LLC v. Individuals,

Corps., Ltd. Liab. Companies, Partnerships, & Unincorporated Associations Identified on

Schedule A Hereto, 2022 WL 17176498 (N.D. Ill. Nov. 23, 2022); Banister v. Firestone, 2018

WL 4224444 (N.D. Ill. Sept. 5, 2018); Awareness Ave. Jewelry LLC v. Partnerships &

Unincorporated Associations Identified on Schedule "A,", 2023 WL 3568387 (M.D. Fla. May

19, 2023).

          B.     Defendants’ Assets Should Remain Frozen.

          Roadget requests that Defendants’ assets remain frozen as part of the preliminary

injunction. Courts may freeze a party’s assets pending the outcome of litigation as long as the

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plaintiff seeks equitable relief, as is the case here. CSC Holdings, Inc. v. Redisi, 309 F.3d 988,

996 (7th Cir. 2002). The data provided pursuant to the TRO confirms that Defendants reside in

foreign jurisdictions, and it remains all but certain that they hold most of their assets in offshore

accounts. Thus, as this Court stated in its April 4, 2024 TRO, without injunctive relief,

“Defendants could and likely would move any assets from accounts in financial institutions

under this Court’s jurisdiction to off-shore accounts.” TRO, ECF No. 17. Moreover, the

restraint of assets is limited and proportional to the relief sought.

                                           CONCLUSION

        For the foregoing reasons consistent with previous cases before this Court, Roadget

respectfully requests that this Court enter the preliminary injunction.




 Dated: April 15, 2024                                 Respectfully submitted,

                                                        /s/ Steven J. Horowitz
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